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 9                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
10
     THE LOUIS D. BRANDEIS CENTER, INC.,
     JEWISH AMERICANS FOR FAIRNESS IN                        Case No. 3:23-cv-06133-JD
11
     EDUCATION (JAFE)
12                                                           ANSWER OF THE DEFENDANT-
                   Plaintiffs,                               INTERVENORS
13
            vs.                                              Judge:            Hon. James Donato
14
     REGENTS OF THE UNIVERSITY OF
15   CALIFORNIA; UNIVERSITY OF CALIFORNIA AT
     BERKELEY; BERKELEY LAW SCHOOL;
16   MICHAEL DRAKE, in his official capacity as
     President of the University of California; CAROL T.
17   CHRIST, in her official capacity as Chancellor of the
18   University of California, Berkeley; BEN
     HERMALIN, in his official capacity as Provost of the
19   University of California,

20                 Defendants,

21          and

22   MALAK AFANEH, ZAID YOUSEF, SHMUEL
     (MUKI) BARKAN, ISAAC (IZZY) TRAGARZ
23
                   Defendant-Intervenors.
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                           ANSWER OF THE DEFENDANT-INTERVENORS
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 1          The Defendant-Intervenors Malak Afaneh, Zaid Yousef, Shmuel (Muki) Barkan, and Isaac

 2   (Izzy) Tragarz hereby answer the First Amended Complaint (“FAC”) filed by Plaintiffs.

 3                                            THE PARTIES

 4      1. The Defendant-Intervenors are a diverse group of Muslim, Jewish, Arab, Palestinian, and

 5          Israeli current students and recent graduates at UC-Berkeley (“UCB”) who are involved in

 6          First Amendment activities supporting Palestine at UCB. They know (and can present

 7          evidence and argument) that opposing the State of Israel’s genocide of Palestinians and its

 8          effort to annihilate the possibility of an independent Palestinian state is not antisemitic.

 9          They support the national and international movement to defend and win freedom for the

10          people of Palestine. They are opposed to Islamophobia, antisemitism, all forms of bigotry,

11          ethnic cleansing, and genocide.

12      2. They include members of the UCB organizations the Plaintiffs want to get the University

13          to derecognize and defund. They include individuals who have participated in

14          encampments at UC-Berkeley and/or have provided support to them. These are First

15          Amendment activities that both the Plaintiffs and the UC Defendants seek to end and

16          repress.

17      3. Malak Afaneh (she/her) is directly referenced by the Plaintiffs in the First Amended

18          Complaint (“FAC”). FAC ❡❡16,88-89,106. She is the Palestinian American who authored

19          the pro-Palestine bylaw by Law Students for Justice in Palestine (LSJP) that was adopted

20          in various forms by 26 law student organizations and was the target of Brandeis’s original

21          lawsuit. As a member of LSJP, she has faced repression from the UC Defendants for her

22          support of Palestinian rights. She is accused by the Plaintiffs of “hijack[ing] [sic]” an event

23          (FAC ❡16), where she merely attempted to speak at an April 2024 event open to all

24          graduating law students at Dean Chemerinsky’s home. She was wearing a hijab and

25          attempted to greet attendees in Arabic, speak about the importance of fasting during

26          Ramadan to Muslims, and then criticize UC investments in Israeli-affiliated companies.

27          Seconds into her speech, Law Professor (and Dean Chemerinsky’s wife) Catherine Fisk

28          assaulted her by grabbing her from behind, yanking the microphone, dragging her, and

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 1      ordering her to leave. She and other third-year law students, including Intervenor Shmuel

 2      (Muki) Barkan, supported her right to speak and were kicked out of the event. In the wake

 3      of the event, named Defendant UC President Michael Drake slandered her and her

 4      supporters, claiming that they “targeted this event… simply because it was hosted by a

 5      dean who is Jewish.” He falsely called their conduct “antisemitic” and “threatening.” Rich

 6      Leib, chair of the UC Board of Regents, joined this slander and called Ms. Afaneh’s actions

 7      “deplorable.” FAC ❡❡13, 91. These were bold-faced lies. More than any other UC-

 8      Berkeley student, she has been a target of harassment and doxxing, and her career and

 9      networking opportunities have been negatively affected. Ms. Afaneh completed her Juris

10      Doctor degree in May 2024.

11   4. Zaid Yousef (he/him) is a Berkeley Law student and member of LSJP. He is president of

12      UCB’s Muslim Student Association (MSA) and president of the Muslim Law Student

13      Association (MLSA). MSA originated primarily to bring together Muslims of diverse

14      backgrounds and cultures under one unified, organized, proactive community. The MSA at

15      Berkeley stands upon the principles of inclusiveness, responsibility, and action. As an

16      organization aimed primarily at the student body, they strive to remain inclusive of those

17      who wish to understand, appreciate, and practice their Islam without compromising their

18      moral and belief. The MSA also reaches out to those who are not Muslims, primarily to

19      educate them about the misconceptions regarding Islam and the Islamic way of life, and to

20      include anyone willing to stand up for truth, justice, and peace. Mr. Yousef has family living

21      under Israeli military occupation in the West Bank. He has personally faced harassment

22      and discrimination as a Muslim on campus. The MSA’s regular Friday prayers have been

23      interrupted by people yelling they are “terrorists” and spewing other vile anti-Muslim

24      rhetoric. With little assistance from UCB, he and other MSA officers had to hire private

25      security to protect their right to pray. He has confronted Dean Chemerinsky for his

26      disproportionate condemnation of the deaths of Israelis after October 7, 2023 while being

27      silent on Israel’s collective punishment and genocide of Palestinians. Chemerinsky has

28      refused to balance his statements. At an October 11, 2023 town hall, Yousef confronted

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 1          Chemerinsky for not issuing a statement on Palestinian casualties, and Chemerinsky again

 2          refused to balance his statements.

 3       5. Among the Intervenors are Jews who stand in the proud progressive and left-wing tradition

 4          of the Jewish community which has historically played a leading role in the civil rights,

 5          LGBT+, and other liberation movements. Some support the existence of Israel but oppose

 6          all policies that oppress, displace, and massacre Palestinians. These Intervenors reject the

 7          false choice presented by both the Plaintiffs and the UC officials who are quoted in the

 8          FAC, that Jews, including Israeli Jews, must either support the commission of genocide

 9          against Palestinians or else be falsely condemned and slandered or even expelled from the

10          Israel/Palestine region. They understand that Netanyahu’s genocidal policy and his stated

11          goal of extending Israel “from the river to the sea,”1 and his continued efforts to provoke a

12          broader war in the Middle East, isolate Jews and threaten the lives of Jews as well as

13          Palestinians and Arabs in Israel and the surrounding region. The Intervenors who are

14          Jewish stand for the only way forward: a third choice of peace and fighting for the right of

15          Jews, Muslims, Arabs, and Palestinians to coexist on a genuinely equal political and

16          economic basis.

17       6. Shmuel (Muki) Barkan (they/them) is Jewish and completed their Juris Doctor degree at

18          Berkeley Law in December 2024. Barkan is a member of Berkeley Law Jewish Students

19          for Justice in Palestine (BLJ4P) and LSJP, and a dual citizen of Israel and the United States.

20          BLJ4P is an organization at Berkeley Law School, comprised of Jewish students who

21          support the liberation of the people of Palestine. It conducts education and activism to stop

22          Netanyahu’s war and genocide. It asserts that opposing Israel’s genocide is not antisemitic

23          and that the UC Defendants patently will not adequately present their views. Barkan, as an

24          editor for the Berkeley Journal of Employment and Labor Law (BJELL), they supported

25          BJELL adopting of a pro-Palestine bylaw. In October 2023, Berkeley Law Professor (and

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27   1
       “Benjamin Netanyahu Just Said ‘From the River to the Sea’ New Republic (Jan. 18, 2024).
     Available at: https://newrepublic.com/post/178243/benjamin-netanyahu-literally-says-from-the-
28   river-to-the-sea
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 1      Dean Chemerinsky’s wife) Catherine Fisk said that she would resign as its faculty advisor

 2      (which would decertify it), and campaign to sabotage the journal if it adopted the bylaw.

 3      On November 9, 2023, Dean Chemerinsky emailed the school misrepresenting the pro-

 4      Palestine bylaw, saying that any journal who adopted one would not earn academic credit,

 5      be disaffiliated from UC, and not be published by UC. These open acts of intimidation had

 6      a chilling effect, and support for the bylaw in BJELL fell just short of the 75 percent

 7      required for its adoption. Barkan also was a third-year law student who objected to the

 8      April 2024 assault of Ms. Afaneh at Dean Chemerinsky’s event for third-year law students.

 9      Dean Chemerinsky told Barkan and other students that he would report them to the State

10      Bar. Dean Chemerinsky posted a message to the entire law school saying that, if similar

11      incidents occurred, he would press University Code of Conduct charges and report students

12      to the State Bar.

13   7. Isaac (Izzy) Tragarz (they/them) is a Jewish undergraduate student at UC-Berkeley, a Film

14      Studies major, and has participated in numerous protests, including the Spring 2024

15      encampment at UC Berkeley, in support of Palestine. They are a member of Jewish Voices

16      for Peace.

17                             RESPONSES TO ALLEGATIONS

18   8. Answering FAC paragraphs 1 through 20, Defendant-Intervenors answer that the FAC

19      inaccurately describes the protests at UC-Berkeley as “anti-Semitic.” Defendant-

20      Intervenors deny every allegation that a protestor harassed or assaulted an individual for

21      being Jewish. Defendant-Intervenors deny that Zionism is a central tenet of the Jewish

22      faith. For other factual allegations, Defendant-Intervenors neither admit nor deny the

23      allegations, lacking knowledge or information sufficient to form a belief as to the truth or

24      falsity thereof. To the extent the FAC states conclusions of law, no response is required.

25   9. Answering FAC paragraphs 21 through 24, Defendant-Intervenors do not deny these

26      allegations and agree that this Court has subject-matter jurisdiction and that this Court is

27      the proper venue for this action.

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 1       10. Answering FAC paragraphs 25 through 155, Defendant-Intervenors answer that the FAC

 2           inaccurately describes the protests at UC-Berkeley as “anti-Semitic.” Defendant-

 3           Intervenors deny every allegation that a protestor harassed or assaulted an individual for

 4           being Jewish. Defendant-Intervenors deny that Zionism is a central tenet of the Jewish

 5           faith. For other factual allegations, Defendant-Intervenors neither admit nor deny the

 6           allegations, lacking knowledge or information sufficient to form a belief as to the truth or

 7           falsity thereof. To the extent the FAC states conclusions of law, no response is required.

 8                                        RESPONSE TO COUNT I

 9           4. Answering FAC paragraphs 156 through 166, Defendant-Intervenors answer that to the

10   extent the FAC states conclusions of law, no response is required. Defendant-Intervenors deny that

11   the University Defendants have selectively chosen to enforce their policies to the detriment of

12   Jews. Defendant-Intervenors deny that any law student organization’s pro-Palestine bylaws have

13   denied anyone the right to participate because they are Jewish. For other factual allegations,

14   Defendant-Intervenors neither admit nor deny the allegations, lacking knowledge or information

15   sufficient to form a belief as to the truth or falsity thereof.

16                                        RESPONSE TO COUNT II

17           5. Answering FAC paragraphs 167 through 174, Defendant-Intervenors answer that to the

18   extent the FAC states conclusions of law, no response is required. Defendant-Intervenors deny that

19   Zionism is a core tenet of the Jewish faith, or that any law student organization’s pro-Palestine

20   bylaws has denied anyone the right to participate because they are Jewish. To the contrary,

21   Defendant-Intervenors include Jews for whom the relief Plaintiffs seek would deny their right to

22   practice their religious beliefs and/or express their identity as Jews as opposing genocide. For other

23   factual allegations, Defendant-Intervenors neither admit nor deny the allegations, lacking

24   knowledge or information sufficient to form a belief as to the truth or falsity thereof.

25                                       RESPONSE TO COUNT III

26           6. Answering FAC paragraphs 175 through 180, Defendant-Intervenors answer that to the

27   extent the FAC states conclusions of law, no response is required. Defendant-Intervenors deny that

28   any law student organization’s pro-Palestine bylaws have denied anyone the right to contract

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 1   because they are Jewish. For other factual allegations, Defendant-Intervenors neither admit nor

 2   deny the allegations, lacking knowledge or information sufficient to form a belief as to the truth

 3   or falsity thereof.

 4                                       RESPONSE TO COUNT IV

 5           7. Answering FAC paragraphs 181 through 188, Defendant-Intervenors answer that to the

 6   extent the FAC states conclusions of law, no response is required. Defendant-Intervenors deny that

 7   the University Defendants have selectively chosen to enforce their policies to the detriment of

 8   Jews. For other factual allegations, Defendant-Intervenors neither admit nor deny the allegations,

 9   lacking knowledge or information sufficient to form a belief as to the truth or falsity thereof.

10                                        RESPONSE TO COUNT V

11           8. Answering FAC paragraphs 189 through 193, Defendant-Intervenors answer that to the

12   extent the FAC states conclusions of law, no response is required. As for its factual allegations,

13   Defendant-Intervenors neither admit nor deny the allegations, lacking knowledge or information

14   sufficient to form a belief as to the truth or falsity thereof.

15                                         REQUEST FOR RELIEF

16           Defendant-Intervenors deny that Plaintiffs are entitled to the relief set forth in the FAC.

17           WHEREFORE, Defendant-Intervenors request that this Court:

18       1. Deny Plaintiffs the relief they seek and further;

19       2. Award Defendant-Intervenors their costs and attorney fees to the extent provided for by

20           law; and

21       3. Grant Defendant-Intervenors such other relief as the Court deems just and proper.

22                                       AFFIRMATIVE DEFENSES

23           Defendant-Intervenors assert the following affirmative defenses based on their current

24   knowledge and information.

25       1. The FAC fails to state a claim upon which relief can be granted.

26       2. This Court lacks subject-matter jurisdiction over the FAC because one or more of the

27           Plaintiffs lack standing.

28       3. Plaintiffs’ claims for injunctive relief are barred by the doctrine of mootness.

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 1          Defendant-Intervenors assert these affirmative defenses based upon information presently

 2   available and in order to avoid waiver. Defendant-Intervenors reserve the right to withdraw any of

 3   these affirmative defenses or to assert additional affirmative defenses as further information

 4   becomes available.

 5                                                  By the Defendant-Intervenors’ Attorneys,
                                                    UNITED FOR EQUALITY AND AFFIRMATIVE
 6
                                                    ACTION LEGAL DEFENSE FUND (UEAALDF)
 7
                                                    BY: /s/ Shanta Driver
 8                                                  Date: May 9, 2025
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